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                                                      Friday, April 17, 2020 at 14:13:36 Eastern Daylight Time

Subject: Re: Guardian/Grecco: Payment info - Typed Se8lement ? Wire instruc=ons
Date: Tuesday, February 18, 2020 at 3:29:10 PM Eastern Standard Time
From: Stuart A. Weichsel
To:      Zachary Press

Mr. Press --

For payment purposes.
Bank RouIng Number - both ACH and Fedwire - 026009593
Account Number: 4830 6977 7027
Account Holder Name: NEW YORK IOLA ATTORNEY TRUST ACCOUNTS
Account Holder Name (Second Line): STUART WEICHSEL, STROPHEUS LLC

I believe all of the plain=ﬀ du=es are now complete.
We would be happy to review and execute a more formal, be8er dra_ed, se8lement.

Stuart

STROPHEUS LAW LLC
Stuart A. Weichsel, Esq.
(PLEASE NOTE NEW ADDRESS)
60 E 42ND ST STE 4600
New York, NY 10165-0006
Direct +1(917) 688 2307
Cel       (917) 562 4697
Fax       (917) 534‑6306


From: "Stuart A. Weichsel" <stuart.weichsel@stropheus.com>
Date: Tuesday, February 18, 2020 at 3:21 PM
To: Zachary Press <zpress@mkslex.com>
Subject: Re: Guardian/Grecco: Payment info - Typed Se8lement ? Wire instruc=ons

Mr. Press - Please ﬁnd enclosed the W-9 for MGPI, the corporate plain=ﬀ.
Please make the payment to the Stropheus A8orney Trust account, I will forward wire or ACH informa=on.

Is your ﬁrm doing a more formal (and at least typed) se8lement?

I will call shortly.

Stuart

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Stuart A. Weichsel, Esq.
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From: "Stuart A. Weichsel" <stuart.weichsel@stropheus.com>
Date: Tuesday, February 18, 2020 at 3:07 PM
To: Zachary Press <zpress@mkslex.com>
Subject: Re: Guardian/Grecco: Payment info

I have asked my client for a W-9 for MGP Inc., the corporate plain=ﬀ that will be receiving the payment.
More informa=on will be forthcoming.


STROPHEUS LAW LLC
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Fax       (917) 534‑6306


From: Zachary Press <zpress@mkslex.com>
Date: Tuesday, February 18, 2020 at 12:38 PM
To: "Stuart A. Weichsel" <stuart.weichsel@stropheus.com>
Subject: Guardian/Grecco: Payment info

Hi Stuart:

Just tried to reach your direct line. Following up to ask for your client’s payment informa=on. Please return
my call when you can.

Thanks,
Zach

Zachary Press, Esq.
MILLER KORZENIK SOMMERS RAYMAN LLP
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1501 Broadway
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NEW YORK, NY 10036
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FAX: 212-688-3996
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